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1    Marc Days, CA Bar #184098
     Days Law Firm
2    2300 Tulare Street, Suite 240
     Fresno, California 93721
3    Telephone: (559) 708-4844
4    Attorney for Defendant
     DARRELL MAXEY
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7                             IN THE UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10    UNITED STATES OF AMERICA,                 )   Case No. 1:14-cr-00083 AWI
                                                )
11                    Plaintiff,                )   STIPULATION TO ADVANCE SENTENCING;
                                                )   PROPOSED ORDER THEREON
12          vs.                                 )
                                                )   DATE: September 24, 2018
13    DARRELL MAXEY,                            )   TIME: 8:30 a.m.
                                                )   JUDGE: Hon. Lawrence J. O’Neill
14                                              )
                       Defendants.              )
15                                              )
16          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
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     respective attorneys of record herein, that the Sentencing Hearing in the above-captioned matter
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     now scheduled for October 1, 2018, at 8:30 a.m., before the Honorable Lawrence J. O’Neill may
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     be vacated and the matter advanced to September 24, 2018 at 8:30 a.m., before the Hon.

21   Lawrence J. O’Neill.
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     ///
     Case 1:16-cr-00069-JLT-SKO Document 696 Filed 09/17/18 Page 2 of 2


1
                                        McGREGOR W. SCOTT
2                                       United States Attorney
3
     Dated: September 17, 2018          /s/ Kimberly Sanchez
4                                       Kimberly Sanchez
                                        Assistant United States Attorney
5                                       Attorney for Plaintiff
6

7
     Dated: September 17, 2018          /s/ Marc Days
8                                       MARC DAYS
                                        Attorney for Defendant
9                                       Darrell Maxey
10

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12                                     ORDER
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15 IT IS SO ORDERED.

16
     Dated: September 17, 2018          /s/ Lawrence J. O’Neill
17                                      UNITED STATES CHIEF DISTRICT JUDGE

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       Maxey: Stipulation to Advance
       Sentencing                          2
